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                        UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF MISSOURI
                              EASTERN DIVISION

 UNITED STATES OF AMERICA,                )
                                          )
                Plaintiff,                )
                                          )
          vs.                             )        Case No. 4:19 CR 312 CDP
                                          )
 STEVEN V. STENGER,                       )
                                          )
                Defendant.                )

                                      ORDER

        IT IS HEREBY ORDERED that the possible change of plea hearing in

 this matter is set for Friday, May 3, 2019 at 10:30 a.m. in Courtroom 14-South.




                                         CATHERINE D. PERRY
                                         UNITED STATES DISTRICT JUDGE


 Dated this 2nd day of May, 2019.
